Case 2:19-cv-00387-JRG Document 74 Filed 11/20/20 Page 1 of 2 PageID #: 2815




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SNIK LLC,                                         §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §   CIVIL ACTION NO. 2:19-CV-00387-JRG
                                                  §
SAMSUNG ELECTRONICS CO., LTD.,                    §
SAMSUNG ELECTRONICS AMERICA,                      §
INC.,                                             §
                                                  §
               Defendants.                        §

                                            ORDER

       Before the Court is Plaintiff Snik LLC (“Snik”) and Defendants Samsung Co., Ltd. and

Samsung Electronics America, Inc.’s (collectively, “Samsung”) (together with Snik, the “Parties”)

Joint Motion for Extension and Amendments to the DCO (the “Motion”). (Dkt. No. 67). In the

same, the Parties ask the Court for a ninety (90) day continuance of all remaining dates in the

Court’s Docket Control Order (Dkt. No. 52). Having considered the Motion, and in view of the

matters discussed in the November 18, 2020 telephonic hearing, the Court is of the opinion that

the Motion should be and hereby is GRANTED-AS-MODIFIED.

       Accordingly, it is ORDERED that jury selection in the above-captioned matter is reset for

August 2, 2021 at 9:00 a.m. and the pretrial conference is reset for July 8, 2021 at 9:00 a.m.,

both to take place in Marshall, Texas. The Parties are ORDERED to meet and confer and submit

within fourteen (14) days a proposed Amended Docket Control Order reflecting the

aforementioned dates and proposed dates for all interim deadlines. Absent extraordinary

circumstances, the Parties should not expect any further extensions.
 Case 2:19-cv-00387-JRG Document 74 Filed 11/20/20 Page 2 of 2 PageID #: 2816




So ORDERED and SIGNED this 20th day of November, 2020.




                                        ____________________________________
                                        RODNEY GILSTRAP
                                        UNITED STATES DISTRICT JUDGE




                                       2
